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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                       CHARLESTON DIVISION


IN RE: C. R. BARD, INC.,
       PELVIC REPAIR SYSTEMS
       PRODUCTS LIABILITY LITIGATION                             MDL NO. 2187
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE CASES
ON THE ATTACHED EXHIBIT A


                                                    ORDER

            (Dismissing Defendant C. R. Bard, Inc. and Covidien Entities with Prejudice
                             and Transferring Cases to MDL 2327)

        Pending in MDL 2187, 2:10-md-2187 [ECF No. 5320], is a Joint Motion to Dismiss

Defendants with Prejudice filed by the plaintiffs identified in Exhibit A (attached hereto) and C.

R. Bard, Inc., (“Bard”), and Sofradim Production SAS,1 Tissue Science Laboratories Limited,2 and

Covidien LP3 (collectively the “Covidien entities”), to the extent they are named as defendants.

Also pending is plaintiffs’ Motion to Transfer MDLs. [ECF No. 5320]. The Motions seek an order

(1) granting dismissal of Bard and the Covidien entities as defendants in these actions with



1
 Sofradim Production SAS includes any incorrect or incomplete spellings of this Defendant, including Sofradim
Corporation, Sofradim Corp., Sofradim Production, and Sofradim Production, SAS.
2
 Tissue Science Laboratories Limited includes any incorrect or incomplete spelling of this Defendant, including
Tissue Sciences Laboratories, Tissue Science Laboratories Ltd., Tissue Science Laboratories, Inc., Tissue Science
Laboratories, Limited and Tissue Science Laboratories, Ltd.
3
  Covidien LP includes any incorrect or incomplete spellings of this Defendant, as well as any improperly named
affiliates of this defendant, including Covidien Holding, Inc., Covidien Inc., Covidien Incorporated, Covidien
International Finance, SA, Covidien LLC, Covidien Ltd., Covidien Trevoux, SCS, Covidien plc, Covidien, Inc.,
Covidien, LLC, and Covidien, PLC, Tyco Healthcare Group LP, TYCO Healthcare, Tyco Healthcare Group, L.P.,
Tyco International Ltd, United States Surgical Corporation, United States Surgical Corp., Floreane Medical Implants
SA, Floreane Medical Implants, SA, Mareane, SA, Mareane SA, Medtronic PLC, Medtronic International
Technology, Inc., Medtronic MiniMed, Inc., Medtronic Puerto Rico Operations Co., Medtronic Sofamor Danek USA,
Inc., Medtronic Sofamor Danek, Inc., USA, Inc., Medtronic USA, Inc., Medtronic, Inc. and Medtronic, Inc.
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prejudice because all claims between them have been compromised and settled, including all

claims, counterclaims, cross-claims and third party claims; and (2) transferring the cases to the

appropriate remaining MDL.

       After careful consideration, it is ORDERED that

   (1) the Joint Motion to Dismiss Bard with Prejudice and the plaintiffs’ Motion to Transfer

       MDLs are GRANTED;

   (2) Defendants Bard and the Covidien entities, to the extent they are name, are DISMISSED

       WITH PREJUDICE as defendants in the actions listed in Exhibit A;

   (3) these actions are TRANSFERRED to MDL 2327;

   (4) pursuant to Bard MDL Pretrial Order # 275 (Docket Control Order – C. R. Bard, Inc. Wave

       7 Cases), which states the following,

              Transfer of any Wave 7 case to any other MDL, whether by ruling upon a
              motion from plaintiff or defendants or sua sponte by the court, does not
              relieve the plaintiff or any remaining defendant(s) from the deadlines of a
              Docket Control Order. Any cases transferred into American Medical
              Systems, Inc. (“AMS”), Boston Scientific Corporation (“BSC”) or Ethicon,
              Inc. (“Ethicon”) MDLs will immediately be subject to the Docket Control
              Order entered in that MDL on January 30, 2018, and any Amended Docket
              Control Orders.

       these actions are now subject to PTO # 280 entered in MDL 2327; and

   (5) to the extent an Amended Short Form complaint has not been filed, the court DIRECTS

       plaintiffs’ counsel to file the appropriate Amended Short Form Complaint within the time

       stated in the Motion.

The court DIRECTS the Clerk as follows:

   (1) disassociate each civil action listed in Exhibit A as a member case in MDL 2187 and re-

       associate it with MDL 2327;

   (2) file MDL 2327, PTO # 280 in the individual cases listed in Exhibit A;

                                               2
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(3) change the 2187 Wave 7 flag to a MDL 2327 Wave 8 flag; and

(4) file a copy of this order in 2:10-md-2187 and in the individual cases listed in Exhibit A.

                                          ENTER: April 6, 2018




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                     EXHIBIT A - TRACEY & FOX LAW FIRM

         CIVIL ACTION NUMBER
   (listed numerically in ascending order)                   Case Name
               2:14-cv-10912                 Hillman, Velma
               2:14-cv-15544                 Clark, Janice and Kyle
               2:14-cv-15553                 Burke, Deanna and Joe




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